                           Case 23-1146, Document 27-1, 09/01/2023, 3563609, Page1 of 1
                                    UNITED STATES COURT OF APPEALS FOR THE SECOND CIRCUIT

                  Thurgood Marshall U.S. Courthouse 40 Foley Square, New York, NY 10007 Telephone: 212-857-8500

                                                    MOTION INFORMATION STATEMENT
                  23-1045; 23-1146
Docket Number(s): ________________________________________                 _______________Caption [use short title]_____________________
            Stay Pending Appeal
Motion for: ______________________________________________

________________________________________________________

________________________________________________________

Set forth below precise, complete statement of relief sought:
Defendant-Appellant respectfully requests a stay of the
________________________________________________________
                                                                            E. Jean Carroll v. Donald J. Trump
underlying proceeding pending resolution of the consolidated
________________________________________________________
appeals, and, in particular, the viability of his presidential
________________________________________________________
immunity defense.
________________________________________________________

________________________________________________________

________________________________________________________
             Donald J. Trump
MOVING PARTY:_______________________________________                E. Jean Carroll
                                                     OPPOSING PARTY:____________________________________________

          ___Plaintiff                ✔
                                      ___Defendant

          ___Appellant/Petitioner    ___Appellee/Respondent

                Michael T. Madaio
MOVING ATTORNEY:___________________________________                                 Roberta Kaplan
                                                          OPPOSING ATTORNEY:________________________________________
                        [name of attorney, with firm, address, phone number and e-mail]
Habba Madaio & Associates LLP
________________________________________________________ Kaplan Hecker & Fink LLP
                                                         _______________________________________________________________
                                                           350 Fifth Avenue , 63rd Floor New York, New York 10118
1430 US Highway 206, Ste. 240 Bedminster, New Jersey 07921 _______________________________________________________________
________________________________________________________
T: (908) 869-1188; mmadaio@habbalaw.com
________________________________________________________ T: (212) 763.0883; rkaplan@kaplanhecker.com
                                                         _______________________________________________________________
                                    Hon. Lewis A. Kaplan
Court- Judge/ Agency appealed from: _________________________________________________________________________________________

Please check appropriate boxes:                                          FOR EMERGENCY MOTIONS, MOTIONS FOR STAYS AND
                                                                         INJUCTIONS PENDING APPEAL:
Has movant notified opposing counsel (required by Local Rule 27.1):      Has this request for relief been made below?                                 ✔
                                                                                                                                                    ___Yes       ___No
         ✔
        ___Yes     ___No (explain):__________________________            Has this relief been previously sought in this court?                      ___Yes ___No  ✔
        _______________________________________________                  Requested return date and explanation of emergency: ________________
                                                                          Given that trial in this matter is scheduled for January 15, 2024, Appellant's immunity defense
                                                                         _____________________________________________________________
Opposing counsel’s position on motion:
                                                                         _____________________________________________________________
                                                                          will be rendered moot and forever lost if he is forced to stand trial before this issue is resolved.
                          ✔
         ___Unopposed ___Opposed       ___Don’t Know                      Accordingly, Appellant respectfully requests a return date of September 22, 2023, or as
                                                                         _____________________________________________________________
Does opposing counsel intend to file a response:                          soon as practicable.
                                                                         _____________________________________________________________
          ✔
         ___Yes    ___No ___Don’t Know


Is oral argument on motion requested?           ✔
                                               ___Yes ___No (requests for oral argument will not necessarily be granted)

Has argument date of appeal been set?                   ✔
                                               ___ Yes ___No If yes, enter date:_______________________________________________________

Signature of Moving Attorney:

 /s/ Michael T. Madaio
_________________________________      8/24/2024
                                  Date:__________________              ✔
                                                          Service by: ___CM/ECF ___Other [Attach proof of service]




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